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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.3.3
                                Eastern Division

Fred J. de la Cotera, D.D.S.
                                   Plaintiff,
v.                                                 Case No.: 1:20−cv−05036
                                                   Honorable Sharon Johnson Coleman
Noah Associates Incorporated
                                   Defendant.



                        NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Tuesday, October 13, 2020:


        MINUTE entry before the Honorable Sharon Johnson Coleman: Pursuant to
Federal Rule of Civil Procedure 41(a)(1)(A)(i), this case is voluntarily dismissed with
prejudice, class allegations without prejudice, and with each side to bear its own costs.
Civil case terminated. Mailed notice. (ym, )




ATTENTION: This notice is being sent pursuant to Rule 77(d) of the Federal Rules of
Civil Procedure or Rule 49(c) of the Federal Rules of Criminal Procedure. It was
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